Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30            Desc Main
                                   Document      Page 1 of 15


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 5171 CAMPBELLS LAND CO., INC.,                    )      Chapter 11
                                                   )
                     Debtor.                       )      Case No. 19-22715-CMB


                           STIPULATION AND CONSENT ORDER


       AND NOW come 5171 Campbells Land Co., Inc. (“Debtor”) and Perkins & Marie

Callender’s, LLC (“PMC” and together with Debtor, the “Parties”), by and through their counsel,

and file this Stipulation and Consent Order (the “Stipulation”) as follows:

                                           RECITALS

The Parties

       1.      PMC is a limited liability company organized and existing under the laws of the

State of Delaware with its principal place of business located in Memphis, Tennessee.

       2.      Debtor is a Pennsylvania corporation which filed a voluntary petition (the

“Petition”) under Chapter 11 of the United States Bankruptcy Code on July 8, 2019 (the

“Bankruptcy Case”).

The PMC System and Marks

       3.      Since 1958, PMC and or its predecessors-in-interest and through its licensees has

developed a business system for establishing, operating, and licensing distinctive, fast-casual

restaurants serving the public under the name “PERKINS” or “Perkins®” (and Design) (hereinafter

referred to collectively as “Perkins”).

       4.      The food, beverage, and other products served and sold by Perkins restaurants are

prepared in accordance with PMC's unique techniques, special equipment and processes, standards

and specifications, products, and other methods (the “System”).
Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30             Desc Main
                                   Document      Page 2 of 15


       5.      Each restaurant is also designed pursuant to PMC's plans and specifications for

construction, conversion, remodeling, decorating, equipment and layout, and is operated in

accordance with PMC's distinctive business formats, construction plans, inspection and

consultation programs, signs, flags, equipment, layouts, methods, specifications, standards,

recipes, confidential information, trade secrets, operating procedures, training programs and

materials, guidance, policy statements and related materials, designs, advertising, publicity,

marketing programs, and other materials.

       6.      On June 7, 1966, PMC obtained from the United States Patent and Trademark

Office (“USPTO”) a federal trademark registration for its Perkins trademark, U.S. Registration

No. 809,680 for use on “restaurant services.” In addition, PMC owns, uses, promotes, and licenses

certain federally-registered trade names, trademarks, service marks, and other commercial symbols

and applications related thereto, including U.S. trademark registrations (collectively, the “Marks”).

       7.      There are 371 Perkins restaurants operated in 32 states and five Canadian provinces.

The Perkins system includes 117 company-owned and operated restaurants and 254 franchised

units. PMC has invested substantial time, skill, effort, and money in developing, promoting, and

advertising its unique System and in the development and protection of its Marks and trade names.

       8.      As a result of PMC’s advertising, marketing, promotional, and other efforts, the

Perkins’ Marks have gained widespread recognition and customer goodwill for providing the

highest standards of quality and hospitality in the restaurant industry.

       9.      PMC provides its unique services to the general public through authorized

licensees/franchisees through licensing agreements.

       10.     Debtor was among the system of authorized licensees and, after receiving PMC’s

training, utilized the benefits of the Marks and System in operation of their Perkins licensed units




                                              2
Case 19-22715-CMB        Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30             Desc Main
                                  Document      Page 3 of 15


in territories that included the states of the State of Ohio, the Commonwealth of Pennsylvania, and

the State of New York.

The License Agreements

       11.     On February 13, 2017, Unique Ventures Group, LLC (“Unique”) filed a voluntary

petition for relief under Chapter 11 of the United States Bankruptcy Code at Case No. 17-20526-

TPA in the United States Bankruptcy Court of Western Pennsylvania (the “Unique Case”).

       12.     Unique was licensee of twenty-eight (28) Perkins restaurants pursuant to License

Agreements by and between the Debtor and Perkins (the “Unique License Agreements”).

       13.     On March 23, 2017, M. Colette Gibbons (the “Trustee”) was appointed as the

Chapter 11 Trustee for Unique.

       14.     Among other things, the Trustee was charged with the responsibility of selling

Unique’s assets which consisted primarily of the Unique License Agreements.

       15.     On October 30, 2017, the Trustee filed a motion to sell and assign substantially all

of Unique’s assets, including the Unique License Agreements.

       16.     At a hearing and auction conducted by the judge in the Unique Case, on January 9,

2018, Debtor was identified as having submitted the highest and best offer for the Unique’s assets.

       17.     On January 29, 2018, an order was entered in the Bankruptcy Case approving the

sale of substantially all of the Unique’s assets, including the Unique License Agreements, to

Debtor.

       18.     In connection with this closing, Debtor signed twenty-seven (27) License

Agreements (one “License Agreement” and collectively with all attachments, addendums and

amendments, “License Agreements”) with PMC for non-exclusive licenses to operate twenty-

seven (27) Perkins franchise units in Ohio, Pennsylvania, and New York.




                                             3
Case 19-22715-CMB        Doc 28     Filed 07/12/19 Entered 07/12/19 09:49:30          Desc Main
                                   Document      Page 4 of 15


         19.   Each of the License Agreements contain identical language defining the terms,

conditions, rights, and obligations between the Parties.

         20.   The License Agreements permitted Debtor to operate their Perkins units at the

following locations in Ohio, Pennsylvania, and New York, identified by store numbers and names

(the “Restaurant” or, collectively, the “Restaurants”):

 Store                     Name                                         City/State
  2474    Warren (Niles)                                  Warren, OH
  2537    New Castle                                      New Castle, PA
  3346    Clarion                                         Clarion, PA
  3382    Ashland                                         Ashland, OH
  3383    Ashtabula - Prospect                            Ashtabula, OH
  3388    Canfield - E Main Street                        Canfield, OH
  3448    Titusville - Central Ave.                       Titusville, PA
  3458    Erie – East                                     Erie, PA
  3459    Erie – South                                    Erie, PA
  3460    Erie – West                                     Erie, PA
  3463    Greenville - Hadley Road                        Greenville, PA
  3464    Grove City - W. Main Street                     Grove City, PA
  3466    Indiana                                         Indiana, PA
  3474    Hermitage (Sharon)                              Hermitage, PA
  3495    Warren - Elm Rd.                                Warren, OH
  3523    Corry - Columbus Ave.                           Corry, PA
  3525    Bradford - Bolivar Dr.                          Bradford, PA
  3531    Olean - State Street                            Olean, NY
  3572    Warren - Ludlow St.                             Warren, PA
  3573    Conneaut - Rt 20 W Conneaut Pl                  Conneaut, OH
  3604    Meadville                                       Meadville, PA
  3670    Youngstown - Boardman                           Youngstown, OH
  3709    Middleburg Heights (Cleveland)                  Middleburg Heights, OH
  3730    Mars (Cranberry Township)                       Cranberry Township, PA
  3731    Canton                                          Canton, OH
  3794    Austintown                                      Austintown, OH
  3844    Brooklyn                                        Brooklyn, OH

         21.   A copy of a representative License Agreement is attached hereto as Exhibit 1.




                                             4
Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30           Desc Main
                                   Document      Page 5 of 15


       22.      The License Agreements gave Debtor non-exclusive licenses to operate the

Restaurants and to use the PMC System and the Marks in their operation, under specific terms and

conditions which created specific rights and obligations.

       23.      Under Section 4.A. of the License Agreements, Debtor acknowledged that its right

to use the Marks was derived from the License Agreements and was limited to their operation of

the Restaurants pursuant to and in compliance with the License Agreements. Further, Debtor

agreed that all of their usage of the Marks and any goodwill established by their use of the Marks

was to the exclusive benefit of PMC.

Default and Termination of the License Agreements and the Temporary License

       24.      Soon after the License Agreements were executed, Debtor defaulted under the

terms of the Agreement. Those defaults included:

                a. use of unapproved products in the Restaurants and

                b. failure to pay royalties and marketing funds.

       25.      A Notice of Default was provided by PMC to Debtor on May 4, 2018, informing

Debtor, among other things, that the License Agreements would terminate thirty (30) days from

the date of receipt by Debtor of the Notice of Default unless all past due amounts were paid on or

before the termination date. A copy of the May 4, 2018 Notice of Default is attached hereto as

Exhibit 2.

       26.      Debtor failed to make the payments, and the License Agreements terminated on

June 5, 2018.

       27.      That same day, Debtor’s representative drove to Memphis to meet with a team of

PMC representatives to discuss Debtor’s defaults under the License Agreements. During that

meeting, the parties reached an understanding that PMC would (i) permit Debtor to hold a

temporary license to continue operating the Restaurants as Perkins restaurants so long as certain


                                             5
Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30           Desc Main
                                   Document      Page 6 of 15


conditions were met, and (ii) consider reinstating the terminated License Agreements subject to

certain conditions, including providing financial statements for each Restaurant, becoming current

with royalty and Marketing Fund contributions, and obtaining documents related to equipment

vendors and ongoing remodels. That agreement was memorialized in a Letter of Understanding,

a copy of which is attached hereto as Exhibit 3.

       28.     Subsequently, Debtor defaulted under the terms of the temporary license.

       29.     On October 25, 2018, PMC sent a letter to Debtor providing notice of those defaults

outlining necessary steps to cure defaults and stating that failure to cure payment defaults would

result in termination of the temporary license.

       30.     Over the next few months, Debtor attempted to address PMC’s notices and

requirements and remedy its breaches. PMC, in good faith, and in reasonable reliance on Debtor’s

purported good faith, endeavored to continue the Parties’ business relationship under temporary

license, with the terms of the License Agreements incorporated therein.

       31.     Nevertheless, defaults continued under the temporary license, and the Grove City –

W. Main Street, PA Restaurant was closed temporarily for two (2) days by the Pennsylvania

Bureau of Food Safety and Laboratory Services due to health and safety deficiencies related to on-

going construction which was mandated by local municipal authorities.

       32.     Finally, on June 3, 2019, PMC provided Debtor with a Notice of Termination of

Temporary License letter for all Restaurants (the “June 3 Notice of Termination”) and, on June 4,

2019, issued a De-Identification letter (the “De-Identification Letter”) pursuant to Section 16 of

the License Agreements. True and correct copies of the June 3 and 4, 2019 letters are attached

hereto as collective Exhibit 4.




                                             6
Case 19-22715-CMB         Doc 28     Filed 07/12/19 Entered 07/12/19 09:49:30            Desc Main
                                    Document      Page 7 of 15


       33.     The June 3 Notice of Termination summarized the Parties’ correspondence and

course of dealing as discussed above and stated that, as a result of Debtor’s failure to meet the

conditions set forth in the Letter of Understanding, including the failure to pay amounts owed to

PMC, PMC was terminating the License Agreements, as incorporated into the temporary license.

As of the date of the June 3 Notice of Termination, PMC alleged that Defendants owed:

               a.       Royalties                     $742,913.29;

               b.       Deferred Royalties            $757, 656.50;

               c.       Marketing Contributions       $609,934.65;

               d.       Transfer Fees                 $54,000.00.

Thus, as of June 3, 2019, PMC asserted that Debtor owed PMC $2,164,504.29 (collectively with

accruals since June 3, 2019 and other claims arising under the License Agreements, the

“Claims”). The Debtor disputes the amount of the Claims and reserves its right to object to the

Claims.

       34.     Among other things, the De-Identification Letter reminded Debtor of its post-

termination obligations, e.g., that Section 16. of the License Agreements requires Debtor to pay to

PMC all sums due and owing within 15 days of termination and to take various additional steps

including all steps necessary to cease identifying itself as a current or former Perkins

restaurant/franchise.

       35.     To that end, PMC also reminded Debtor of its need to schedule personnel to visit

the Restaurants to ensure compliance with the de-identification obligations and requested

information regarding Debtor’s plans, including a timeline, to de-identify the facilities.

Violation of CLC’s Post-Termination Obligations and Irreparable Harm to PMC

       36.     After receiving the June 3 Notice of Termination and the De-Identification Letter,

Debtor did not comply with their contractual post-termination obligations.


                                              7
Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30           Desc Main
                                   Document      Page 8 of 15


        37.     Specifically, Debtor failed to make required payments and continued to operate all

twenty-seven (27) Restaurants as Perkins Restaurants, thereby using misappropriating PMC’s

System and Confidential Information and infringing upon PMC’s Marks for its own benefit and in

direct competition with other Perkins corporate and franchise restaurants.

        38.     PMC has a substantial interest in preventing Debtor from misappropriating its

System and Confidential Information and infringing upon its Marks.

        39.     It is vitally important to the Perkins franchise system, and all other authorized

Perkins licensees/franchisees, that Debtor not be allowed to operate Perkins restaurants without

authorization and in direct competition with authorized Perkins license/franchise owners using the

System, Confidential Information, and Marks provided to Debtor by PMC.

        40.     In order to protect its important rights under the License Agreements, PMC filed a

Verified Complaint seeking temporary and permanent injunctive relief at Docket No. 2:19-cv-

02414-JPM-dku in the United States District Court for the Western District of Tennessee (the “TN

Action”).

        41.     After a hearing in the TN Action on July 2, 2019, a Temporary Restraining Order

and Notice of Hearing was issued (the “TRO”). A copy of the TRO is attached hereto as Exhibit

5.

        42.     Among other things, the TRO granted the requested temporary restraining order

stating that:

                a.     Debtor breached and continued in breach of the License Agreements.

                b.     absent entry of the TRO, PMC will continue to suffer immediate and
                       irreparable harm.

                c.     PMC has no adequate remedy at law.

                d.     Debtor is restrained



                                              8
Case 19-22715-CMB        Doc 28     Filed 07/12/19 Entered 07/12/19 09:49:30              Desc Main
                                   Document      Page 9 of 15


                       i. from competing with each Restaurant.

                       ii. using PMC’s confidential information.

                       iii. continuing to identify itself as current or former Perkins restaurants,
                            franchises or licensees or using the Marks.

              e.       Debtor shall remove from the Restaurants and uniforms various display
                       items and items which display or contain any PMC trademarks or otherwise
                       relate to a Perkins restaurant.

              f.       Debtor shall take all other actions as necessary to effectively de-identify and
                       distinguish the Restaurants from the Perkins brand.

              g.       Scheduled a hearing for July 8, 2019, to determine if the TRO should be
                       converted to a Preliminary Injunction pursuant to Rule 65(a) of the Federal
                       Rules of Civil Procedure (the “PI Hearing”).

       43.    Debtor has failed to comply with the terms of the TRO.

       44.    On July 8, 2019, prior to the PI Hearing, the Debtor filed the Petition commencing

the Bankruptcy Case.

       45.    Since the Petition was filed, Debtor and PMC have engaged in negotiations and

have reached an agreement as outlined herein.

                                          AGREEMENT

       46.    The License Agreements, including the temporary license, were properly

terminated prior to the commencement of the Bankruptcy Case.

       47.    The License Agreements, including the temporary license, are not property of

Debtor’s bankruptcy estate.

       48.    Without further order of this Court, PMC may enter into new license agreements

with third parties for any or all of the Restaurants: provided, however, that PMC does not hereby

obtain any right to Debtor’s FF&E, small wares, or possession of Debtor’s leased premises.

Whatever rights, if any, PMC has to Debtor’s FF&E, small wares and possession of Debtor’s

leased premises are reserved.



                                              9
Case 19-22715-CMB        Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30                 Desc Main
                                  Document     Page 10 of 15


       49.     With regard to Store Numbers: 2537, 3383, 3388, 3448, 3460, 3572, 3753, 3730,

3731, and 3844 listed on pages 4 and 5 herein (the “De-commissioned Restaurants”), Debtor shall

immediately upon entry of this Consent Order, commence compliance with the TRO (including

closing the De-Commissioned Restaurants and removing all exterior signage and identification at

the De-Commissioned Restaurants) and shall fully comply with the terms of the TRO within ten

business (10) days from the entry of this Consent Order and shall consent promptly to entry of a

Preliminary Injunction Order in the TN Action which specifically incorporates the terms in items

a. through m. on pages 2 and 3 of the TRO as to the De-Commissioned Restaurants only. PMC

agrees that as long as Debtor has complied with the terms of the TRO within ten (10) days from

the entry of this Consent Order, Debtor is not barred from operating any other restaurant which is

not similar to a Perkins Restaurant at the locations of the De-Commissioned Restaurants. Whether

a restaurant is similar to a Perkins Restaurant will be determined in accordance with Section 16.A

of the License Agreements.

       50.     Pursuant to a temporary license, Debtor shall be entitled to operate the Restaurants

other than the De-Commissioned Restaurants (the “Remaining Restaurants”) until the earlier of

(a) the date(s) when PMC enters into new license agreements with third party licensee(s) and (b)

August 10, 2019.

       51.     The automatic stay under Section 362 of the United States Bankruptcy Code is

terminated to the extent that it is necessary to allow PMC to act pursuant to this Order.

       52.     Debtor Release: Debtor and its successors and assigns hereby fully and finally

ACQUITS, RELEASES, WAIVES AND DISCHARGES PMC, its predecessors, successors

and/or assigns, agents, members, directors, officers, agents, representatives, servants, employees,

independent contractors, partners, insurers, in-house counsel or outside counsel of and from any




                                            10
Case 19-22715-CMB         Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30                Desc Main
                                   Document     Page 11 of 15


and all claims, demands and causes of action that have been, or could have been, or could be in

the future, asserted against PMC, in any capacity, which claims, demands or causes of action are

based upon any act or omission by PMC arising out of or relating to the License Agreements from

the beginning of time up to the date of this Release, including, but not limited to, any and all

claims, demands, cross-actions, choses or causes of action, at law, administrative, or in equity,

whether statutory, derivative, contractual or in tort, as well as any other kind or character of action,

whether known or unknown, now held, owned, claimed or possessed by Debtor (the “Debtor

Released Claims”). For the purpose of clarification, the above provisions of this Section constitute

a comprehensive release by the Debtor of the Debtor Released Claims that occurred prior to the

date hereof, but the above provision of this Section does not constitute a release of any claim

arising from any act or omission that occurs after the date hereof.

        53.     PMC Release: Except for the Claims specified in Paragraph 33 above, PMC and

its successors and/or assigns hereby fully and finally ACQUITS, RELEASES, WAIVES AND

DISCHARGES the Debtor from any and all claims, demands and causes of action that have been,

or could have been, or could be in the future, asserted against Debtor, in any capacity, which

claims, demands or causes of action are based upon any act or omission by the Debtor arising out

of or relating to the License Agreements, and all matters or dealings relating to, or described in,

any pleading, from the beginning of time up to the date of this Release, including, but not limited

to, any and all claims, demands, cross-actions, choses or causes of action, at law, administrative,

or in equity, whether statutory, derivative, contractual or in tort, as well as any other kind or

character of action, whether known or unknown, now held or hereafter owned, claimed or

possessed by PMC (the “PMC Released Claims”). For the purpose of clarification, the above

provisions of this Section constitute a comprehensive release by PMC of the PMC Released Claims




                                              11
Case 19-22715-CMB           Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30             Desc Main
                                     Document     Page 12 of 15


that occurred prior to the date hereof, but the above provision of this Section does not constitute a

release of any claim arising from any act or omission that occurs after the date hereof. For the

purpose of further clarification, PMC shall be permitted to assert the Claims and file a Proof of

Claim in the Bankruptcy Case relative to the Claims.

        54.      Subject to review of certified financial statements and other relevant

considerations, PMC will, in good faith, consider entering into mutual releases with William T.

Kane and Krissy Kochis, who guaranteed Debtor’s obligations to PMC.

        55.      Representations and Warranties: The Parties each represent and warrant to the

other that:

              a. Full Knowledge. They fully understand all the terms of this Stipulation.

              b. Own Judgment. They have made and entered into this Stipulation based on their
                 judgment, and not that of the other.

              c. Competence. They are competent to sign this Stipulation.

              d. Independent Legal Advice. They have received independent legal advice, or had
                 the opportunity to obtain independent legal advice, from a qualified attorney of
                 their choice regarding the advisability of signing this Stipulation.

              e. No Other Representation. In entering into this Stipulation, they: (1) have relied
                 solely on the statements expressly set forth herein; (2) have not placed any
                 reliance whatsoever on any statement, representation, or promise by the other or
                 by any other person or entity that is not expressly set forth or referenced in this
                 Stipulation; (3) have not made this Stipulation in reliance upon the failure of the
                 other or any other person or entity to make any statement, representation or
                 disclosure of anything whatsoever; and (4) have included this clause to preclude
                 the introduction of parole evidence to vary, interpret, supplement, or contradict
                 the terms of this Stipulation.

              f. Authority. Each person executing this Stipulation represents and warrants that he
                 or she has authority to bind the entity or entities on behalf of whom he or she
                 executes this Agreement.

        56.      Court Approval/Notice.

              a. COURT APPROVAL. THIS STIPULATION IS SUBJECT TO
                 APPROVAL OF THE COURT AFTER APPROPRIATE NOTICE.


                                               12
Case 19-22715-CMB     Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30             Desc Main
                               Document     Page 13 of 15


        b. NOTICE. UPON ENTRY OF THE CONSENT ORDER, DEBTOR SHALL
           IMMEDIATELY SERVE A COPY OF THIS STIPULATION AND
           CONSENT ORDER ON DEBTOR’S TWENTY LARGEST UNSECURED
           CREDITORS, THE UNITED STATES TRUSTEE AND TAXING BODIES
           WHICH HAVE CLAIMS AGAINST THE DEBTOR. IF NO OBJECTIONS
           TO THE STIPULATION ARE FILED WITHIN SEVENTEEN (17) DAYS
           OF THE DATE OF THE CONSENT ORDER, THE CONSENT ORDER
           SHALL BE EFFECTIVE. IF ANY OBJECTIONS ARE FILED, THE
           COURT SHALL SCHEDULE A HEARING ON AN EMERGENCY BASIS
           TO CONSIDER ANY OBJECTIONS.

        c. Governing Law; Jurisdiction. The validity, interpretation, and legal effect of this
           Stipulation shall be governed by the laws of the Commonwealth of Pennsylvania
           without regard to the principles of conflicts of law. Jurisdiction and Venue for any
           suit relating to the enforcement of this Stipulation shall be in the Bankruptcy
           Court. Notwithstanding the prior sentence, the United States District Court for
           the Western District of Tennessee shall retain jurisdiction for purposes of
           enforcing the TRO and Preliminary Injunction as the same may be supplemented
           or modified from time to except as otherwise set forth herein.

        d. Survival of Warranties. All representations and warranties contained in this
           Stipulation shall survive its execution, effectiveness, and delivery.

        e. Further Instruments. The Parties shall each (i) execute and deliver such further
           instruments, documents, or papers and perform all such acts necessary, proper or
           reasonably requested to carry out and effectuate the terms of this Stipulation as
           may be reasonably requested by any party hereto, and (ii) cooperate with each
           other in the drafting and execution of such additional instruments, documents or
           papers.

        f. No Presumption From Drafting. Because each of the Parties have had the
           opportunity to draft, review, and edit the language of this Stipulation, no
           presumption for or against any of the Parties arising out of drafting all or any part
           of this Stipulation will be applied in any action relating to, connected to, or
           involving this Stipulation.

        g. Benefits Successors. This Stipulation shall be binding upon, and shall inure to the
           benefit of, each of the Parties and their respective parent corporations, companies,
           subsidiaries, divisions, Affiliates, Insiders, related entities, shareholders,
           members, directors, officers, agents, representatives, servants, employees,
           independent contractors, partners, insurers, attorneys, predecessors, successors
           and assigns.

        h. No Right of Revocation. THIS STIPULATION IS NOT SUBJECT TO
           REVOCATION.




                                         13
Case 19-22715-CMB     Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30             Desc Main
                               Document     Page 14 of 15


        i. Headings. The headings to the sections of this Stipulation are inserted for
           convenience only and will not be deemed a part hereof nor affect the construction
           or interpretation of the provisions hereof.

        j. No Third-Party Beneficiaries. The Parties each agree that this Stipulation is
           intended and executed for their sole benefit and the benefit of those additional
           parties falling within the categories of parties generally specified above,
           including, but not limited to, subparagraph g above. Neither of the Parties
           contemplates or intends for this Stipulation to extend to any third-parties and
           expressly agree that this Stipulation does not inure to the benefit of any third-
           parties.


                                          SO ORDERED this _____ day of July, 2019.


                                          BY THE COURT



                                          Carlota Böhm
                                          Chief Bankruptcy Judge

                         [CONSENTS ON FOLLOWING PAGE]




                                         14
Case 19-22715-CMB       Doc 28    Filed 07/12/19 Entered 07/12/19 09:49:30          Desc Main
                                 Document     Page 15 of 15


Consented to this ____ day of July, 2019.


 s/ Robert O. Lampl                              s/ Joel M. Walker
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                                            15
